Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 1 of 16




         Exhibit A
         Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 2 of 16




                                                                              November 3, 2020

U.S. Immigration and Customs Enforcement
Freedom of Information Act Office
500 12th Street, S.W., Stop 5009
Washington, D.C. 20536-5009

Sent by email to: ice-foia@ice.dhs.gov

Re: FOIA Request and Request for Expedited Processing & Fee Waiver

Dear Madam or Sir:

       Pursuant to the Freedom of Information Act (“FOIA”), 5 U.S. Code § 552, et. seq,
the Brennan Center for Justice (“Brennan Center”) hereby requests copies of all records in
your agency’s possession or control described below, and a waiver of processing and
reproduction fees for the reasons that follow. The Brennan Center would be happy to
discuss this request via phone or e-mail in order to answer any questions regarding the
scope or substance.
                                        Request

The Brennan Center hereby requests the following documents and materials:

        1) The following HSI Special Agent Handbooks, as identified in the Index to the
           Special Agent Manual,1 in the version most recently finalized for agency use:

             a. Counterterrorism & Criminal Exploitation Investigations Handbook
             b. Human Smuggling & Trafficking Investigations Handbook
             c. Narcotics and Transnational Organized Crime Rewards Program
                Handbook
             d. National Security Investigations Handbook
             e. Investigative Methods Handbook2




1
 This index was released in 2017 in response to a FOIA request from governmentattic.org; see Exhibit A.
2
 This handbook is designated in the above index as a legacy USCS OI Special Agent Handbook chapter,
dated August 1990. Our request is for the most recent version of this handbook or its HSI equivalent.
         Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 3 of 16




         2) Any memoranda or training materials issued from January 21, 2017 to the date
            of this request that purport to explain the policies behind, or guide agents in
            implementation of, the documents above.

        If any information described above is withheld, we request copies of all non-
exempt, reasonably segregable portions of such materials, as well as a detailed statement
of the statutory basis and reasons for each instance of withholding, including specifically
but not limited to the FOIA exemption relied upon for such withholding, and an index or
similar statement of the nature of any materials withheld.

                              Application for Expedited Processing

        The Brennan Center requests expedited processing pursuant to 5 U.S.C. §
552(a)(6)(E) and DHS’s implementing regulation, 6 C.F.R. § 5.5(e). There is a
“compelling need” for these records because the information requested is required by an
organization “primarily engaged in disseminating information” due to an “urgency to
inform the public concerning actual or alleged federal government activity.” 6 C.F.R. §
5.5(e)(1)(ii).

The Brennan Center is a section 501(c)(3) non-profit organization that is “primarily
engaged in disseminating information” within the meaning of 5 U.S.C. §
552(a)(6)(E)(v)(II) and 6 C.F.R. § 5.5(e)(1)(ii). See, e.g., Leadership Conference on Civil
Rights v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005) (expedited treatment
warranted where requester “disseminates information regarding civil rights and voting
rights to educate the public, promote effective civil rights laws, and ensure their
enforcement”). The Brennan Center regularly writes and publishes reports and newspaper
articles and makes appearances on various media outlets, addressing U.S. policy on
issues ranging from counterterrorism efforts to the powers of the federal government to
voting rights and beyond, and it will continue to do so for the foreseeable future.

        Furthermore, the Brennan Center requires the information sought by this request
in order to inform the public of federal government activity, namely the standards and
training governing the actions of HSI agents. See 5 U.S.C. § 552(a)(6)(E)(v)(II); 6 C.F.R.
§ 5.5(e)(1)(ii). HSI has been the subject of significant news coverage, indicating
substantial public interest in the agency’s activities and the circumstances under which it
can undertake investigations and other matters. In addition to coverage of HSI’s role in
monitoring and intervening in domestic protests this summer,3 there has been reporting

3
 See, e.g., Jimmy Tobias, “Exclusive: ICE Has Kept Tabs on ‘Anti-Trump’ Protesters in New York City,”
The Nation, March 6, 2019, https://www.thenation.com/article/archive/ice-immigration-protest-
spreadsheet-tracking/ (reporting that HSI conveyed information to DHS about public protests occurring in
New York City, challenging the Trump administration’s immigration and deportation policies, in a
spreadsheet titled “Anti-Trump protests”); id. (reporting that an HSI official circulated information about a
“Deportee Suitcase Solidarity March” opposing the administration’s deportation practices); Nicole
                                                      2
         Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 4 of 16




regarding the scope of the agency’s investigations,4 training materials for HSI agents,5 the
opacity of its policies,6 and concerns about the mechanisms by which HSI agents obtain
information from their targets.7 Furthermore, DHS has publicly stated that it is preparing
for possible mobilization of ICE and CBP agents in case of civil unrest around the
November 3 federal election; in light of the deployment of HSI agents over the summer,
it seems likely that they would be involved in election response as well.8 As the executive
director of the First Amendment Coalition has observed, “There is intense public interest
in understanding [HSI’s] processes.”9 This request will contribute to the public
understanding of those processes.

                                     Request for Fee Waiver

          The Brennan Center respectfully requests a waiver of all fees for document search,
duplication, and review associated with this request in accord with 5 U.S.C.
§ 552(a)(4)(A)(ii)-(iii), as disclosure of the records sought is in the public interest, because
it is likely to contribute significantly to public understanding of the operations or activities
of the federal government’s law enforcement agencies and operations, and because the
Brennan Center has no commercial interest in this information. The Brennan Center is an
independent, nonpartisan law and policy organization organized under 26 U.S.C. §
501(c)(3) that works to reform, revitalize, and when necessary, defend the nation’s systems
of democracy and justice. The Brennan Center has a demonstrated ability to analyze,
synthesize, and report on matters of public concern, in a manner that is available to and
reaches the public on a widespread basis.




Acevedo, “ICE special agents detain Floyd protester in NYC,” NBC News, June 5, 2020,
https://www.nbcnews.com/news/latino/federal-immigration-agents-detain-floyd-protester-nyc-n1226086
(reporting the detention of an individual of Puerto Rican descent who was targeted by HSI officers at a
protest against police brutality).
4
  Brittny Mejia, “This agency helped catch ‘El Chapo.’ But association with ICE can be a headache,” Los
Angeles Times, March 19, 2019, https://www.latimes.com/local/lanow/la-me-ln-ice-difficulties-20190319-
story.html.
5
  Todd Feathers, “The most powerful agency you’ve never heard of: Homeland Security Investigations,”
MuckRock, April 22, 2014, https://www.muckrock.com/news/archives/2014/apr/22/operation-cornerstone-
training-slides/.
6
  Eoin Higgins, “ICE doesn’t want you to read its manuals––for no good reason whatsoever,” The
Intercept, April 18, 2018, https://theintercept.com/2018/04/18/ice-hsi-special-agent-training-manuals/.
7
  Eoin Higgins, “Confidential ICE handbook lays out paths for investigations to avoid constitutional
challenges,” The Intercept, February 23, 2018, https://theintercept.com/2018/02/23/ice-search-seizure-
handbook-manual-secret/.
8
  Geneva Sands and Priscilla Alvarez, “Homeland Security agencies prepare for civil unrest amid
heightened tensions nationwide,” CNN, October 26, 2020, https://www.cnn.com/2020/10/26/politics/cbp-
ice-prepare-for-unrest/index.html.
9
  Eoin Higgins, “Confidential ICE handbook lays out paths for investigations to avoid constitutional
challenges.”
                                                   3
         Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 5 of 16




         The Brennan Center qualifies as a “representative of the news media” for the same
reasons that it is “primarily engaged in dissemination of information”--i.e., because the
Brennan Center “gathers information of potential interest to a segment of the public, uses
its editorial skills to turn the raw materials into a distinct work, and distributes that work to
an audience.”10 The Brennan Center has released over 100 publications in the form of
reports and papers on various issues of public importance in the period since January
2011.11 The Brennan Center is therefore entitled to a waiver of search and review fees
pursuant to 5 U.S.C. § 552(a)(4)(A)(ii)(II) and 28 C.F.R. § 16.10(d)(1).

         As a noncommercial requester, the Brennan Center also qualifies for waivers as an
“educational institution” pursuant to 28 C.F.R. § 16.10 (c)(1)(i). The Brennan Center
qualifies as an educational institution because it is affiliated with the NYU School of Law,
which is plainly an educational institution under the definition provided in 28 C.F.R. §
16.10(b)(4).12 Moreover, disclosure is not primarily in the Brennan Center’s commercial
interests.13 As stated above, the Brennan Center plans to make any information disclosed
as a result of this request available to the public at no cost. A fee waiver would therefore
fulfill Congress’s legislative intent that FOIA be “liberally construed in favor of waivers
for noncommercial requesters.”14

We look forward to your response within twenty (20) working days from the date you
receive this request, as required by 5 U.S.C. § 552(a)(6)(A)(i). Please email the
undersigned at levinsonr@brennan.law.nyu.edu if you have any questions. Thank you.


10
   The Freedom of Information Act (FOIA), 5 U.S.C. § 552(a)(4)(A)(ii)(III) (1966); 28 C.F.R. §
16.10(b)(6) (2015); Nat’l Sec. Archive v. Dep’t of Def., 880 F.2d 1381, 1387 (D.C. Cir. 1989); see also
Elec. Privacy Info. Ctr. v. Dep’t of Def., 241 F. Supp. 2d 5, 11 (D.C. Cir. 2003).
11
   For representative examples of the Brennan Center’s previous publications on issues of public concern,
see, e.g., Faiza Patel, Rachel Levinson-Waldman and Raya Koreh, Social Media Monitoring, Brennan
Center for Justice, 2019, https://www.brennancenter.org/our-work/research-reports/social-media-
monitoring; Elizabeth Goitein and Faiza Patel, What Went Wrong with the FISA Court, Brennan Center for
Justice, 2015, https://www.brennancenter.org/our-work/research-reports/what-went-wrong-fisa-court;
Michael German, Hidden in Plain Sight: Racism, White Supremacy, and Far-Right Militancy in Law
Enforcement, Brenan Center for Justice, 2020, https://www.brennancenter.org/our-work/research-
reports/hidden-plain-sight-racism-white-supremacy-and-far-right-militancy-law; “Social Media
Surveillance by Homeland Security Investigations: A Threat to Immigrant Communities and Free
Expression,” Brennan Center for Justice, November 15, 2019, https://www.brennancenter.org/our-
work/research-reports/social-media-surveillance-homeland-security-investigations-threat; cf. Elec. Privacy
Info. Ctr., 241 F. Supp. 2d at 11-12 (finding that the Electronic Privacy Information Center was
representative of the news media based on its publication of seven books about national and international
policies relating to privacy and civil rights); see also Nat’l Sec. Archive, 880 F.2d at 1386 (deeming
National Security Archive a representative of the news media after it published one book and indicated its
intention to publish a set of documents on national and international politics and nuclear policy).
12
   See also Nat’l Sec. Archive, 880 F.2d at 1381.
13
   See 28 C.F.R. § 16.10 (d)(1).
14
   McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1284 (9th Cir. 1987) (quoting 132
Cong. Rec. 27, 190 (1986) (Statement of Sen. Leahy)).
                                                    4
       Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 6 of 16




Sincerely,




Rachel Levinson-Waldman
Deputy Director, Liberty & National Security Program
Brennan Center for Justice at NYU School of Law




                                          5
Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 7 of 16




                EXHIBIT A




                             6
         Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 8 of 16




Description of document:                 Immigration and Customs Enforcement (ICE) Office of
                                         Homeland Security Investigations (HSI) Special Agent
                                         Manual table of contents, 2016*

Requested date:                          25-January-2017

Released date:                           09-August-2017

Posted date:                             29-January-2018

*                                        Manual composed of sections originating 2005-2016

Source of document:                      FOIA Request
                                         U.S. Consumer Product Safety Commission
                                         4330 East West Highway
                                         Bethesda, MD 20814
                                         Fax: 301-504-0127
                                         Email: cpsc-foia@cpsc.gov
                                         e-FOIA Public Access Link (PAL)




The governmentattic.org web site (“the site”) is noncommercial and free to the public. The site and materials
made available on the site, such as this file, are for reference only. The governmentattic.org web site and its
principals have made every effort to make this information as complete and as accurate as possible, however,
there may be mistakes and omissions, both typographical and in content. The governmentattic.org web site and
its principals shall have neither liability nor responsibility to any person or entity with respect to any loss or
damage caused, or alleged to have been caused, directly or indirectly, by the information provided on the
governmentattic.org web site or in this file. The public records published on the site were obtained from
government agencies using proper legal channels. Each document is identified as to the source. Any concerns
about the contents of the site should be directed to the agency originating the document in question.
GovernmentAttic.org is not responsible for the contents of documents published on the website.
               Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 9 of 16
                                                                    Freedom ofInformation Act Office

                                                                    U.S. Department of Homeland Security
                                                                    500 12th St SW, Stop 5009
                                                                    Washington, DC 20536


                                                                    U.S. Immigration
                                                                    and Customs
                                                                    Enforcement
                                       August 09, 2017




RE:        ICE FOIA Case Number 2017-ICFO-16778



This letter is the final response to your Freedom oflnformation Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), dated January 25, 2017, for
all records pertaining to a digital/electronic copy of the table of contents of the "Special Agent
Handbook" ..

ICE has considered your request under the FOIA, 5 U.S.C. § 552.

A search of the ICE Office of Homeland Security Investigations (HSI) for records responsive to
your request produced 6 pages that are responsive to your request. ICE has determined that 6
pages will be released in their entirety; ICE has claimed no deletions or exemptions.

If you are not satisfied with the response to this request, you have the right to appeal following
the procedures outlined in the DHS regulations at 6 C.F.R. § 5.9. Should you wish to do so, you
must send your appeal and a copy of this letter, within 90 days of the date of this letter, to:

                          U.S. Immigration and Customs Enforcement
                          Office of the Principal Legal Advisor
                          U.S. Department of Homeland Security
                          500 12th Street, S.W., Mail Stop 5900
                          Washington, D.C. 20536-5900

Your envelope and letter should be marked "FOIA Appeal." Copies of the FOIA and DHS
regulations are available at www.dhs.gov/foia.

Provisions of the FOIA and Privacy Act allow us to recover part of the cost of complying with
your request. In this instance, because the cost is below the $14 minimum, there is no charge. 1

If you need any further assistance or would like to discuss any aspect of your request, please
contact the FOIA office and refer to FOIA case number 2017-ICFO-16778. You may send an e-

1
    6 CFR § 5.ll(d)(4).
          Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 10 of 16




mail to ice-foia@ice.dhs.gov, call toll free (866) 633-1182, or you may contact our FOIA Public
Liaison in the same manner. Additionally, you have a right to right to seek dispute resolution
services from the Office of Government Information Services (OGIS) which mediates disputes
between FOIA requesters and Federal agencies as a non-exclusive alternative to litigation. If
you are requesting access to your own records (which is considered a Privacy Act request), you
should know that OGIS does not have the authority to handle requests made under the Privacy
Act of 1974. You may contact OGIS as follows: Office of Government Information Services,
National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769.

                                                   Sincerely,
                                                    ;-(,J.,_J,rf1,1.,~
                                                        /p?,
                                                   Catrina M. Pavlik-Keenan
                                                   FOIA Officer



Enclosure(s): 6 page(s)
  Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 11 of 16




HOMELAND SECURITY INVESTIGATIONS

         SPECIAL AGENT MANUAL




                             Page 1 of 6
      Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 12 of 16




          HOMELAND SECURITY INVESTIGATIONS
               SPECIAL AGENT MANUAL
                       INDEX

The HSI Special Agent Manual is composed of the Special Agent Handbooks issued
by ICE Homeland Security Investigations or its predecessor ICE Office of
Investigations, as well as selected chapters from the legacy U.S. Customs Service
Office of Investigations Special Agent Handbook which are being updated and will
be superseded by new Handbooks. (See the following indexes.)




                                     Page 2 of 6
     Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 13 of 16




         HOMELAND SECURITY INVESTIGATIONS

                         Special Agent Handbooks
                                        Index
         (All Special Agent Handbooks are Lan Enforcement Sensitive.)


1.   Arrest Procedures I landbook                     I IB 15-03    07/21/2015

2.   Asset Forfeiture Handbook                        HB 10-04      06./30/2010

3.   Benefit Fraud Investigations Handbook            HB 14-01      01/07/2014

4.   Case Management Handbook                         HB 08-02      02/01/2008

5.   Child Sexual Exploitation Investigations         HB 12-05      11/19/2012
     Handbook

6.   Commercial Trade Fraud Investigations            I I B 07-03   12/03/2007
     Handbook

7.   Computer Forensics Handbook                      HB 11-01      04/27/2011

8.   Counterterrorism and Criminal Exploitation       HB 14-07      11/12/2014
     Investigations Handbook

9.   Cultural Property, Art, and Antiquities          I IB 13-06    11/08/2013
     Investigations Handbook

10   Currency Pick-Up and Delivery Operations         HB 16-01      4/14/2016
     Handbook

II. Cyber Crimes Investigations Handbook              HB 11-03      08/09/2011

12. Denaturalization Investigations I Iandbook        I IB 08-01    01/15/2008

13. Document and Identity Fraud Investigations        HB 13-01
    1 landbook

14. Emergency Driving Handbook                        HB 12-02      05/10/2012




                                            2

                                        Page 3 of 6
     Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 14 of 16




IS. Evidence Handbook                                 HB 15-05     11/09/2015

16. Evidence Recovery Team Handbook                   HB 14-06     10/22/2014

17. Financbil Investigations Handbook                 HB 14-03     05/13/2014

18. Fugitives I Iandbook                              I IB 15-06   11/23/2015

19. Human Smuggling and Trafficking                   HB 15-04     08/21/2015
    Investigations Handbook

20. Informants Handbook                               HB 12-03     08/02/2012

21. Interviewing 'lechniques Handbook                 FIB 10-03    04/28/2010

22. Live and Photographic Lineups Handbook            HB 08-05     10/08/2008

23. Lure Operations Handbook                          HB 15-07     11/23/2015

24   Narcotics and Transnational Organized Crime      HB 16-03     08/11/2016
     Rewards Programs Handbook

25   National Ceremonial Honor Guard Handbook         HB 12-01     05/08/2012

26. National Security Investigations Handbook         HB 13-03     04/26/2013

27. Notional Immigration Document Handbook            HB 14-02     03/27/2014

28. Polygraph Examinations Handbook                   HB 16-02     06/02/2016

29. Private Bill Investigations Handbook              HB 13-04     08/15/2013

30. Protective Operations I landbook                  I IB 15-01   02/26/2015

31. Retention of Forfeited Property Handbook          HB 11-04     09/12/2011

32. Search and Seizure Handbook                       HB 12-04     09/14/2012

33. Special Agent On-the-Job Training and             NB 08-03     02/08/2008
    Evaluation Handbook



                                            3

                                        Page 4 of 6
     Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 15 of 16




34. Special Response Team Handbook                  HB 06-001    11/20/2005

35. T Nonimmigrant Status Handbook                  HB 09-03     08/05/2009

36. Technical Operations Handbook                   HB 14-04     07/21/2014

37. U Nonimmigrant Status! Iandbook                 I IB 09-04   12/01 /2009

38. Undercover Operations Handbook                  HB 08-04     04/14/2008

39. Witness Security Handbook                       HB 15-02




                                          4

                                      Page 5 of 6
     Case 1:21-cv-02443 Document 1-1 Filed 03/19/21 Page 16 of 16




         HOMELAND SECURITY INVESTIGATIONS
           Legacy USCS 01 Special Agent Handbook Chapters

                                     Index
                  (All Chapters are Lan Enforcement Sensitive.)



1.   Controlled Deliveries                          Ch. 15        04/03/1997


2,   Drug Smuggling Investigations                  Ch. 9         11/1990


3.   Investigative Methods                          Ch. 12        08/1990




                                         5

                                     Page 6 of 6
